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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


COMMONWEALTH OF PENNSYLVANIA, et al.,

                           Plaintiffs,

                    v.
                                                  No. 20-cv-1719 (KBJ)
ELISABETH D. DEVOS, in her official capacity as
Secretary of Education, et al.,

                           Defendants.


              OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
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                                        INTRODUCTION

       The Department of Education has stopped enforcing the statutory requirement that higher

education programs run by for-profit companies may receive federal financial aid only if the

programs “prepare students for gainful employment in a recognized occupation.” See generally

84 Fed. Reg. 31,392 (July 1, 2019) (“2019 Rule”). The consequences of the Department’s action

are predictable: more students will enroll in “sub-optimal programs” that “have demonstrated a

lower return on the student’s investment, either through higher upfront costs, reduced earnings,

or both.” Id. at 31,445.

       The effect of those enrollment decisions on the plaintiff States is equally predictable.

With more students enrolling in worthless programs, a greater number will forgo educational

opportunities at public institutions. Decreased enrollment at public institutions diminishes the

financial benefits that accrue to the plaintiff States when students enroll in those institutions. At

the same time, by abandoning its own responsibilities, the Department pushes a greater share of

responsibility for overseeing higher education onto the States. That oversight is costly, and many

of those costs will be incurred complying with the States’ obligations under federal law. Finally,

much like the federal government, the States invest in higher education. That financial support

helps realize a vital function of state government, which is to make the benefits of education

broadly accessible. The 2019 Rule will cause much of that investment to go to waste.

       Each of these harms independently establishes the States’ standing in this case. The

Department’s arguments against standing all are uniquely flawed, but they also all share one

common defect: they miss that this is a case challenging the 2019 Rule and not one to enforce

any other agency action. Therefore, standing depends on how the 2019 Rule affects the States.

For that reason, and others, this Court’s decision in Maryland v. United States Department of



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Education, No. 17-2139, 2020 WL 4039315 (D.D.C. July 17, 2020), on which the Department’s

motion to dismiss heavily relies, is only marginally relevant here.

       At bottom, the 2019 Rule will injure the States, and vacating the 2019 Rule will redress

those injuries. That establishes the States’ standing. So the Department’s motion to dismiss must

be denied.

                                                  BACKGROUND

  I.   The Higher Education Act’s gainful employment requirement

       Title IV of the Higher Education Act of 1965, as amended, provides the architecture for

federal financial aid in support of students attending institutions of higher education. See 20

U.S.C. §§ 1070–1099d. Last year, the Department delivered nearly $48 billion in Title IV aid for

students enrolled in institutions of higher education located in the plaintiff States. See Federal

Student Aid, Title IV Program Volume Reports, 2019-2020 New Disbursements by Location

(Sept. 30, 2020) (“Location Report”).1 That financial support opens higher education to those

who might not otherwise be able to afford it.

       The Higher Education Act also sets federally enforceable criteria for which institutions

qualify as institutions of higher education, both generally and specifically for eligibility to

receive Title IV aid. 20 U.S.C. §§ 1001–1002. For eligibility for Title IV aid, the Higher

Education Act creates three classifications of institutions: (1) “public or other nonprofit”; (2)

“proprietary”; and (3) “postsecondary vocational.” Id. § 1002(a); see also id. § 1001(a)(4).

Because institutions keep federal aid even if students cannot make required repayments on any

loans, the Higher Education Act imposes safeguards to guard against ineffective institutions

enrolling students who receive Title IV aid. For proprietary institutions and postsecondary


       1
           https://studentaid.gov/data-center/student/title-iv.


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vocational institutions, initial eligibility to receive Title IV aid depends on whether the institution

“provides an eligible program of training to prepare students for gainful employment in a

recognized occupation.” Id. § 1002(b)(1)(A)(i), (c)(1)(A); see also id. § 1088(b)(1)(A)(i). So

programs offered by proprietary or vocational institutions often are referred to as gainful

employment programs. Proprietary institutions are run as for-profit entities. Id. § 1002(b)(1)(C).

       The Higher Education Act also assigns oversight roles to various actors. An “institution

of higher education” is one that, among other things, “is legally authorized within such State to

provide a program of education beyond secondary education.” Id. § 1001(a)(2); see also id.

§ 1002(b)(1)(B), (c)(1)(B). And, with some exceptions, institutions of higher education must be

accredited by a nationally recognized agency. Id. §§ 1001(a)(5), 1002(b)(1)(D), (c)(1)(B). The

three entities that share regulatory responsibility for higher education—the federal government,

States, and private accreditors—are commonly referred to as “the triad.” See, e.g., 84 Fed. Reg.

at 31,403.

 II.   The Department’s rulemaking for the Higher Education Act’s gainful employment
       requirement

       A. Enforcing the Higher Education Act’s gainful employment requirement

       Title IV aid supports students attending public schools, non-profit schools, and schools

operated by for-profit companies. That aid is a particularly important revenue stream for for-

profit institutions, comprising 70% of total revenue for some. Am. Compl. ¶ 42 (ECF No. 22).

Yet, for much of the last decade, at least, graduates of programs operated by those companies

have been more likely than their counterparts to default on federal loans. Id. ¶¶ 43–44. Often

those defaults reflect an institution prioritizing profits over student success, even resorting to

fraud and misconduct. Id. ¶¶ 44–47.




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       Poor outcomes for graduates of for-profit programs that received Title IV aid exhibited

that the Department historically had been distributing money to many programs that did not

satisfy the Higher Education Act’s gainful employment requirement. In 2009, the Department

announced its intention to address this issue by improving enforcement of the gainful

employment requirement. 74 Fed. Reg. 24,728 (May 26, 2009). The Department’s first effort to

do so culminated in a rule issued in 2011. 76 Fed. Reg. 34,386 (June 13, 2011). At that time, the

Department explained that “significant advances in electronic reporting and analysis now allow

the Department to collect accurate and timely data that could not have been utilized in the past.”

Id. at 34,392–393. Analysis of the new data would “provide the Department, students, and the

institutions offering these programs with information about how well the programs are

performing under the measures,” enabling the Department to create a metrics-based approach to

define what it means for a program to “prepare students for gainful employment in a recognized

occupation.” Id. at 34,393. With those data, the Department could “give[] meaning to an

undefined statutory term, thereby fulfilling the Department’s duty to enforce the provisions of

the [Higher Education Act] in a clear and meaningful way.” Id. That rule, however, was vacated

because one inextricable component was unsupported by the administrative record. See generally

Ass’n of Private Sector Colleges & Univs. v. Duncan, 870 F. Supp. 2d 133 (D.D.C. 2012).

       After starting over, the Department promulgated a new rule in 2014. See generally 79

Fed. Reg. 64,890 (Oct. 31, 2014) (“2014 Rule”). The 2014 Rule had two complementary pieces.

One aspect of the 2014 Rule—called the accountability framework—tied a program’s eligibility

for Title IV aid to a metrics-based method of evaluating whether the program prepared its

graduates for gainful employment. Under the accountability framework, gainful employment

programs lost eligibility to receive Title IV aid if, for successive years, the average graduates’



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debt exceeded a certain percentage of earnings. Id. at 65,018–019. The Department collected

earnings data from the Social Security Administration. Id. If a program had disqualifying “debt-

to-earning” rates and was in danger of becoming ineligible for Title IV aid, it needed to alert its

enrolled and prospective students. Id. at 65,012–013.

       The other aspect of the 2014 Rule—called the transparency framework—was designed to

“increase the quality and availability of information about the outcomes of students enrolled in

GE programs.” Id. at 64,890. For each of its gainful employment programs, an institution had an

annual obligation to report to the Department information about enrollment in the program,

average loans and debt for the program’s students, and job placement rates, among other

information. Id. at 65,013. Institutions also had to complete a template with information about

each of its programs, which would be disclosed to enrolled and prospective students. Id. The

Secretary had final say over what information institutions would have to disclose, but the

Secretary’s judgment was to be informed by “consumer testing” that would “determine how to

make the disclosure template as meaningful as possible.” Id. Institutions had to disclose all

required information on any of its webpages that discussed admissions to its programs or its

programs’ costs, as well as in promotional materials and directly to prospective students. Id. at

65,014–015. Through these disclosures, students received information that warned them when

enrolling in a certain program would be imprudent.

       Two industry groups challenged the 2014 Rule. In each case, the rule was upheld

entirely. See Ass'n of Private Sector Colleges & Univs. v. Duncan, 110 F. Supp. 3d 176 (D.D.C.

2015); Ass’n of Proprietary Colleges v. Duncan, 107 F. Supp. 3d 332 (S.D.N.Y. 2015).

       In 2017, the 2014 Rule’s first effective year, the Department identified over 2,000

programs, almost all operated by for-profit companies, that were not preparing students for



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gainful employment as the Higher Education Act demands. Am. Compl ¶ 73. And the

Department’s first disclosure template required that institutions share information about what

percentage of any of its program’s students graduate on time, the program’s costs, what

percentage of students typically borrow money to enroll, a typical graduate’s total debt, monthly

loan payments, and annual earnings, what percentage of graduates are employed and the fields

they work in, and whether the program satisfies professional licensure requirements. See U.S.

Dep’t of Educ., Education Department Releases Final Debt-to-Earnings Rates for Gainful

Employment Programs, “Disclosure Template” (Jan. 9, 2017).2 So for the first time students had

access to uniform, reliable, and program-level information that could warn against harmful

enrollment decisions. Am. Compl. ¶ 75. After the Department started enforcing the Higher

Education Act’s gainful employment requirement, many educational programs run by for-profit

companies closed. See 84 Fed. Reg. at 31,437–438.

        Soon after a change in presidential administration, the Department delayed several of the

2014 Rule’s annual compliance deadlines and stopped fulfilling its own obligations under the

rule. Am. Compl. ¶¶ 80–83. Many of the States that are plaintiffs here, and some that are not,

brought a suit challenging those delays and seeking an order that the Department enforce the

2014 Rule. See Am. Compl., Maryland v. U.S. Dep’t of Educ., No. 17-2139 (June 22, 2018)

(ECF No. 65-2). That suit was eventually dismissed for lack of standing. See generally

Maryland, 2020 WL 4039315, appeal docketed, Maryland v. U.S. Dep’t of Educ., Nos. 20-5268

& 20-5283 (D.C. Cir.).




        2
        https://www.ed.gov/news/press-releases/education-department-releases-final-debt-earnings-rates-gainful-
employment-programs.

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       B. The 2019 Rule

       At the same time the Department was failing to enforce the 2014 Rule, the Department

issued a notice of proposed rulemaking in which it proposed repealing the 2014 Rule without

promulgating any replacement. 83 Fed. Reg. 40,167 (Aug. 14, 2018). Shortly before the

Department issued that notice, the agreement that permitted the Social Security Administration

to share with the Department data used for calculating debt-to-earning rates expired. See Jones

Decl. ¶ 6, Attachment to Defs.’ Mot. to Dismiss. Before that agreement expired, the Social

Security Administration had turned down the Department’s request to renew the agreement. Id.

The Social Security Administration informed the Department that it did not intend to renew the

data-sharing agreement after members of Congress had called for an investigation into the

Department’s use of the data it received. Id. ¶ 5.

       Almost a year after issuing its proposed rule, the Department finalized the 2019 Rule. See

generally 84 Fed. Reg. 31,392. The 2019 Rule eliminated the 2014 Rule, purportedly based on

concerns about how the 2014 Rule operated, that rule’s effects, and the Department’s ability to

enforce that rule without data from the Social Security Administration. Id. at 31,392–394. The

2019 Rule also cemented the Department’s position that it need not promulgate any other

enforceable definition of what it means to “prepare students for gainful employment in a

recognized occupation” in lieu of the 2014 Rule. Id. at 31,401–403.

       In the 2019 Rule, the Department acknowledged concerns that because of the rule “some

students would be more likely to make poor educational investments,” id. at 31,394, and also that

because the Department would no longer condition eligibility for Title IV aid on compliance

with the Higher Education Act’s gainful employment requirement, “some students may choose

sub-optimal programs” that “have demonstrated a lower return on the student’s investment,

either through higher upfront costs, reduced earnings, or both,” id. at 31,445. The Department
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further remarked that “this could lead to greater difficulty in repaying loans, increasing the use of

income-driven repayment plans or risking defaults and the associated stress, increased costs, and

reduced spending and investment on other priorities.” Id.

       Despite these concerns, the Department discounted the 2019 Rule’s detrimental effect on

student outcomes because the Department would “continue to rely on States to execute their

consumer protection functions and accrediting agencies to evaluate program quality so that the

regulatory triad will retain its importance and shared responsibility in the oversight of institutions

of higher education.” Id. at 31,403 (emphasis added). Also, the Department disagreed with

comments stating that the 2019 Rule eliminated all program-level review of programs once

subject to the 2014 Rule, noting that accreditors and States would perform those evaluations. Id.

       The Department estimated that the 2019 Rule will cost the federal government $6.2

billion over the next ten years, primarily because programs that would have become ineligible to

receive Title IV aid will remain eligible for that funding with the Department now declining to

enforce the gainful employment provision. Id. at 31,447.

III.   This litigation

       The States filed this action shortly before the 2019 Rule’s effective date. See Compl.

(ECF No. 1). Afterward, this Court entered a scheduling order for the parties to brief the States’

standing in light of this Court’s decision in Maryland. See Min. Order. (Aug. 19, 2020).

       Consistent with that order, the States amended the complaint. See Am. Compl. The

amended complaint charges that the 2019 Rule violates the Administrative Procedure Act’s

substantive and procedural limits on agency rulemaking. The 2019 Rule does so because it

announces that the Department will no longer give the Higher Education Act’s ambiguous

gainful employment provision an enforceable definition, a decision that is an unjustified change

for the Department and contrary to law. Am. Compl. ¶¶ 163–166, 175. And the 2019 Rule
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eliminated the 2014 Rule based on arbitrary concerns about that rule, and without considering

either alternatives or any reliance interests that the 2014 Rule had engendered. Id. ¶¶ 167–171,

175. Plus, the 2019 Rule relied on unidentified analyses. Id. ¶ 179. The States have asked that the

2019 Rule be declared unlawful and set side. Id. at 57.

        The Department has now moved to dismiss the amended complaint under Federal Rule of

Civil Procedure 12(b)(1). See Defs.’ Mot. to Dismiss; see also Defs.’ Mem. Supp. Mot. to

Dismiss (“Defs.’ Mem.”).

                                        STANDARD OF REVIEW

        Jurisdiction, like any part of a plaintiff’s case, must be established with only the “manner

and degree of evidence required” for the stage of litigation at which jurisdiction has been

challenged. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). Thus, when jurisdiction is

challenged through a motion under Federal Rule of Civil Procedure 12(b)(1), the Court must

accept all facts alleged in the complaint as true and draw reasonable inferences in favor of the

plaintiff. Johnson v. Comm'n on Presidential Debates, 869 F.3d 976, 980 (D.C. Cir. 2017).

                                                 ARGUMENT

        Because of the 2019 Rule, programs of higher education that fail to prepare students for

gainful employment will be eligible to receive Title IV aid despite the Higher Education Act’s

contrary direction, and students will be without ready access to information that warns which

programs are unlikely to prepare them for a successful career. See Am. Compl ¶¶ 106–07, 122,

139.3 As a result, more students will enroll in “sub-optimal programs” that “have demonstrated a


        3
          The Department insists that the States have alleged injuries as a consequence only of substandard
programs’ continued eligibility for Title IV aid. Defs.’ Mem. at 14. But that does not accurately describe the
amended complaint. As alleged, the injuries flow from continued eligibility for Title IV aid and also from the
Department’s decision that students will no longer receive information that warns them when enrolling in a certain
program might be harmful. See Am. Compl. ¶ 122; see also id. ¶¶ 106–07, 139. When the Department enforced the
Higher Education Act’s gainful employment requirement through the 2014 Rule, the information that warned
students against bad decisions came both from disclosures under the 2014 Rule’s transparency framework and

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lower return on the student’s investment, either through higher upfront costs, reduced earnings,

or both.” 84 Fed. Reg. at 31,445.

         Those enrollment decisions will harm the States. First, increased competition from for-

profit programs that do not satisfy the Higher Education Act’s gainful employment requirement

diverts money away from the States’ public institutions and impedes the financial benefits that

the States receive from enrollment at those schools. Second, the 2019 Rule imposes on the States

greater oversight responsibility for higher education. Third, the Department’s abdication of its

own oversight responsibilities wastes the States’ financial support for higher education. Each

harm is a consequence of the 2019 Rule, redressable through a favorable ruling here, and so each

supplies a basis for standing. No hypothetical reason that the Department may not be able to

fully enforce the 2014 Rule if the 2019 Rule is set aside defeats jurisdiction.

  I.     The 2019 Rule will injure the States

         A plaintiff has standing to sue when it has suffered a concrete, particularized injury, that

the defendant caused, and which the court can redress. Air Alliance Houston v. EPA, 906 F.3d

1049, 1058 (D.C. Cir. 2018). Like any other litigant, a state may have standing if injured

directly. Harm to a state’s “economic, environmental, or administrative interests as a result of

federal action may” confer “standing to sue the federal government.” Clean Wisconsin v. EPA,

964 F.3d 1145, 1158 (D.C. Cir. 2020).4 And when a plaintiff’s injuries are economic, the harm

need not be sizeable; “some” harm suffices. Food Mktg. Inst. v. Argus Leader Media, 139 S. Ct.

2356, 2362 (2019). That harm can give rise to standing if already incurred or if the harm is either

specific notices that students would have received if considering enrolling in a program that did not pass the 2014
Rule’s eligibility metrics.
         4
             Sometimes states assert standing to vindicate sovereign or quasi-sovereign interests. See Gov’t of
Manitoba v. Bernhardt, 923 F.3d 173, 178 (D.C. Cir. 2019). When a state seeks to vindicate a quasi-sovereign
interest, it often is acting as parens patriae for its injured citizens. Id. The Department argues that the States may not
sue the federal government in this capacity. Defs.’ Mem. at 29–30. The States, however, have not advanced a theory
of parens patriae standing.

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certainly impending or there is a substantial risk it will occur. Air Alliance, 906 F.3d at 1058.

The 2019 Rule causes three qualifying injuries.

       A. The 2019 Rule deprives the States of revenue received through public
          institutions

       The effect of the Department declaring that it need not enforce the Higher Education

Act’s gainful employment requirement is predictable. Because of the 2019 Rule, many students

who would have enrolled in a community college, public university, or public college will

instead enroll in ineffectual for-profit programs. Enrollment at public institutions of higher

education produces economic benefits for the States through tuition payments, federal money

that is distributed commensurate with enrollment, and increased income tax revenue. Therefore,

depressing enrollment at those institutions harms the States. Am. Compl. ¶¶ 109–124, 153–159.

       At this stage, standing may be supported by these plausible allegations. Johnson, 869

F.3d at 980. Still, the record assembled by the States further exhibits the certainty of this injury.

The record includes the declaration of Dr. Stephanie Cellini, who specializes in the economics of

higher education and whose work was discussed heavily in both the 2014 and 2019 Rules. Dr.

Cellini has extensively researched what happens when the Department identifies, and merely

threatens to withhold federal aid from, poor-performing higher-education programs. See Cellini

Decl. (Ex. 1) ¶¶ 2, 5–6. Historically, in such a case, enrollment at those programs has declined.

Id. ¶¶ 6–8. Based on data taken from every county in the country between 1991 and 2000, the

average for-profit program lost about 226 students when identified as having loan default rates

above a certain threshold and when put at risk of losing federal aid. Id. ¶¶ 7–8. Sixty-eight

percent of departing students, rather than forgoing an education, enrolled in public institutions.

Id. ¶¶ 8–9. Many students opted to enroll in community colleges, which directly compete with

many for-profit programs and generally have open-enrollment policies. Id. ¶ 9 n.2; see also Cruz


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Decl. (Ex. 2) ¶¶ 7, 11 (noting open-enrollment policy and competition between community

colleges and for-profit programs); Dulude Decl. (Ex. 3) ¶¶ 10, 16–20 (same); Malatras (Ex. 4)

Decl. ¶¶ 5, 12–14; Oyadomari-Chun Decl. (Ex. 5) ¶¶ 8, 14–18 (same); Sannicandro Decl. (Ex. 6)

¶¶ 5–6, 9–12 (same) and Durham Decl. (Ex. 7) ¶ 12 (noting open-enrollment policy); Rose Decl.

(Ex. 8) ¶ 9 (same); Saavedra Decl. (Ex. 9) ¶ 11 (same). The movement from poor-performing

programs to public institutions was directly caused by the Department’s oversight. Cellini Decl.

¶ 10.

        First-hand accounts confirm Dr. Cellini’s research. Many students who enroll in for-

profit programs decide between that option and a public institution. Alexander Decl. (Ex. 10) ¶ 5;

Bailey Decl. (Ex. 11) ¶¶ 3, 5; Green Decl. (Ex. 12) ¶¶ 4, 7; Ford Decl. (Ex. 13) ¶ 4; Miller Decl.

(Ex. 14) ¶ 11; Romero Decl. (Ex. 15) ¶¶10, 21; Rosenwald Decl. (Ex. 16) ¶ 8; Schwarm Decl.

(Ex. 17) ¶ 6; Tibbits Decl. (Ex. 18) ¶ 7. When students decide between those options, they

consider whether a program actually prepares its graduates for professional success. Alexander

Decl. ¶¶ 6, 9; Bailey ¶¶ 4, 6–7; Green Decl. ¶¶ 5–9; Ford Decl. ¶ 6 ; Miller Decl. ¶¶ 7, 12–15;

Romero Decl. ¶¶ 6, 11, 13, 19; Rosenwald Decl. ¶¶ 4, 9; Schwarm Decl. ¶¶ 7–8; Tibbits Decl.

¶¶ 2, 4–5, 8. Thus, because of the 2019 Rule the Department will not enforce a statutory

provision that, when enforced, provides students with useful warnings against enrolling in for-

profit programs that do not deliver what they promise. Bailey Decl. ¶ 7; Green Decl. ¶¶ 5–9;

Ford Decl. ¶¶ 10–13; Miller Decl. ¶¶ 12–13; Romero Decl. ¶¶ 17–21; Rosenwald Decl. ¶ 9;

Schwarm Decl. ¶ 14.

        The Department calls the 2019 Rule’s effect on student behavior “purely speculative.”

Defs.’ Mem. at 15. But the Department identifies nothing that undermines the record compiled

on this point. The closest the Department gets is noting that it had been “‘unable to monetize’ the



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impact of the rescission on future students because it was not possible to determine what choices

students might have made if they had been displaced from a GE program deemed ineligible

under the 2014 GE Rule.” Defs.’ Mem. at 16 (quoting 84 Fed. Reg. at 31,444). First, that

conclusory statement does not contradict Dr. Cellini’s declaration, nor any other evidence the

States present. Second, the 2019 Rule itself acknowledges that, generally, students “who lose

access to a GE program will end up in a community college general studies program.” 84 Fed.

Reg. at 31,444. The Department did not monetize the rule’s effect on enrollment decision only

because the Department did not attempt to determine how many people displaced from a for-

profit program would have ended up in a public institution, and could not say whether students

enrolling instead in for-profit programs is a net positive or negative. Id.

        Because the Department responds to the record with only conclusory assertions, this case

is much like Clean Wisconsin v. EPA. There, Illinois and Chicago challenged agency action that

allegedly would damage their parks, which they documented through an expert declaration.

Clean Wisconsin, 964 F.3d at 1158–59. On that declaration alone, Illinois and Chicago

established their standing. Id. at 1159. Like the Department here, the EPA had questioned the

factual predicate for Illinois and Chicago’s injury, but the EPA “never directed [the court] to

evidence in the administrative record refuting petitioners’ factual claims.” Id. at 1160. As in

Clean Wisconsin, Dr. Cellini’s unrebutted declaration alone suffices to establish what students

will do because of the 2019 Rule. Of course, the record here is more comprehensive than in

Clean Wisconsin as Dr. Cellini’s declaration is corroborated by declarations from students and

public institutions alike.

        Now that the record demonstrates that the 2019 Rule will depress enrollment in public

institutions, this case also is materially different than Maryland. In Maryland, this Court



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concluded the record did not support the States’ alleged injuries. Maryland, 2020 WL 4039315,

at *12 (“[T]he record evidence in this case does not necessarily or directly support this

contention.”); id. at *13 (“[T]he States provide no evidence that the students who attend GE

Programs and the admissions departments at state-run institutions will act predictably in the

absence of information regarding the status of the GE Programs . . . .”); id. (“[A] successful

showing of Article III standing requires significantly more than just the ‘common sense’ beliefs

upon which the States’ injury argument here.”). Moreover, this case no longer depends on

theorizing a counterfactual to the agency’s non-enforcement of the 2014 Rule. Id. at *12. Rather,

the States are challenging discrete agency action—the 2019 Rule. And the record shows the

predictable consequences of that rule.

       What is more, even to the extent the circumstances here are like those in Maryland, the

earlier conclusion that any anticipated movement from for-profit programs to public institutions

is too speculative, respectfully, injects too much distance between the challenged agency action

and its predictable consequences. In Maryland, this Court identified five assumptions that

separate the failure to enforce the Higher Education Act’s gainful employment provision and the

States’ injuries, as well as two sets of independent decision makers on which those assumptions

depend. Maryland, 2020 WL 4039315, at *12–13. One identified assumption was that

admissions officers at public institutions would admit any student who left a for-profit program.

Id. at *12. Yet community colleges, where many students who turn away from for-profit

programs will enroll, have open-enrollment policies. Cruz Decl. ¶ 7; Dulude Decl. ¶ 10; Durham

Decl. ¶ 12; Malatras Decl. ¶ 5; Oyadomari-Chun Decl. ¶ 8; Rose Decl. ¶ 9; Saavedra Decl. ¶ 11;

Sannicandro Decl. ¶¶ 5–6. Admissions departments, then, are not an independent actor relevant




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to the States’ theory, and favorable admissions decisions are not an assumption on which

standing depends.

       Three of the remaining assumptions that the Court identified—whether students would

choose not to attend failing for-profit programs, whether they would apply to state institutions

instead, and whether they would enroll having already decided to apply—all speak to a single

question: What is the connection between enforcing, or not, the Higher Education Act’s gainful

employment requirement and student enrollment decisions? Unlike in Maryland, the record now

demonstrates that, because of the 2019 Rule, fewer students will enroll in public institutions.

And when agency action will affect a large group of people, whether those people “will likely

react in predictable ways” is the relevant consideration. See Dep’t of Commerce v. New York,

139 S. Ct. 2551, 2566 (2019). Accordingly, the record need not identify specific students

affected by the 2019 Rule. Contra Defs.’ Mem. at 15–16.

       Decreasing enrollment in from public institutions, as the record shows the 2019 Rule will

do, will economically harm the States. First, those schools will lose revenue from students’

tuition payments and room and board payments. Cellini Decl. ¶¶ 19–20; Durham Decl. ¶ 17;

Malatras Decl. ¶ 10; Saavedra Decl. ¶¶ 13–14; Sannicandro Decl. ¶ 16. Second, those schools

will lose federal funding that is keyed to enrollment, such as student grants and work-study

programs. Crane Decl. (Ex. 19) ¶ 13; Cruz Decl. ¶ 9; Dulude Decl. ¶ 15; Malatras Decl. ¶ 11;

Oyadomari-Chun Decl. ¶ 12; Sannicandro Decl. ¶¶ 8, 16. For the last academic year, the federal

government distributed $48 billion in federal aid to students enrolling in a postsecondary school

located in one of the plaintiff States. See Location Report, supra note 1. Typically, about half of

all Title IV aid goes to public institutions. See Federal Student Aid, Title IV Program Volume

Reports, Award Year Summary by School Type (“School Type Report”) (last visited Dec. 14,



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2020).5 Losing these funds supports the States’ standing. See Dep’t of Commerce, 139 S. Ct. at

2565 (ruling States’ loss of federal funds allowed standing).

       Third, community college graduates enjoy superior employment outcomes relative to

graduates of programs that do not prepare students for gainful employment. So decreasing

enrollment at those colleges harms the States’ ability to meet their workforce needs and

negatively impacts the States’ income tax revenues. Cellini Decl. ¶¶ 27, 32–38; Crane Decl.

¶¶ 10–11; Dulude Decl. ¶¶ 16, 19; Durham Decl. ¶¶ 13, 16; Malatras Decl. ¶¶ 8–9, 15, 21;

Oyadomari-Chun Decl. ¶ 10; Rose Decl. ¶ 19; Saavedra Decl. ¶ 10; Sannicandro ¶¶ 13, 15.

       The Department incorrectly insists that the States have failed to “provide evidence” that

increased enrollment in public institutions and any federal money that follows as a result actually

benefits the States. Defs.’ Mem. at 17–18. Dr. Cellini has calculated that, nationwide, states will

lose $368 million in income tax revenue annually because of the 2019 Rule. Cellini Decl. ¶ 37.

Massachusetts, in particular, faces a loss of $405 per year in tax revenue for each person who

enrolls in a poorly performing for-profit program rather than a community college; for

Pennsylvania, the loss will be $246 per person per year. Id. ¶ 38. So even if operating public

institutions comes with some costs that private payments and federal money do not cover, Defs.’

Mem. at 17 (citing Maryland, 2020 WL 4039315, at *12 & n.5), the tax gains offset those costs,

Cellini Decl. ¶¶ 27, 32–38. The States reasonably invest in public institutions because, among

other reasons, graduates of for-profit programs, and particularly those of programs that do not

prepare students for gainful employment, do not, on the whole, make similar financial

contributions to the States. Id. ¶¶ 27–31.The net financial benefit is hardly surprising as “the

purpose of many governmental expenditures and tax benefits is to spur economic activity, which


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           https://studentaid.gov/data-center/student/title-iv.

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in turn increases government revenues or provides other anticipated benefits.” Maryland, 2020

WL 4039315, at *15 (internal citations omitted).

       This loss of “specific tax revenues” is an injury that provides standing. Wyoming v.

Oklahoma, 502 U.S. 437, 448 (1992). Indeed, in several recent rulings, courts found states to

have standing to challenge federal agency action on this exact basis. First, states had standing to

challenge regulations that loosened restrictions on which entities may offer an association health

insurance plan because the federal regulation would drain enrollment in competing health plans

from which states collect premium taxes. New York v. Dep’t of Labor, 363 F. Supp. 3d 109, 125–

26 (D.D.C. 2019), appeal docketed, New York v. Dep’t of Labor, No. 19-5125 (D.C. Cir.).

Second, states had standing to challenge limits placed on how much of a taxpayer’s state and

local taxes could be deducted from her federally taxable income because the federal limitation

would discourage home sales and thus decrease tax revenues that states collect from those sales.

New York v. Mnuchin, 408 F. Supp. 3d 399, 409–10 (S.D.N.Y. 2019). Third, states had standing

to challenge a regulation that would have reduced employees’ wages, which in turn would have

depressed the base from which states draw income taxes. New York v. Scalia, 464 F. Supp. 3d

528, 542 (S.D.N.Y. 2020). Fourth, New York had standing to challenge a regulation that

restricted the availability of paid leave during the current pandemic because many employees

would be forced to take unpaid leave which, unlike paid leave or working, produces no taxable

income for New York. New York v. Dep't of Labor, No. 20-3020, 2020 WL 4462260, at *4

(S.D.N.Y. Aug. 3, 2020). As in all these cases, the States here have identified a specific type of

tax revenue that will be lost because of the 2019 Rule: income tax from students who will enroll

in low-quality for-profit programs instead of public institutions.




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       The Department cites to Pennsylvania v. Kleppe, 533 F.2d 668 (D.C. Cir. 1976), see

Defs.’ Mem. at 18, but Kleppe is distinguishable. In Kleppe, Pennsylvania sought to compel

federal payments to small businesses from a disaster relief program. Id. at 671. Pennsylvania’s

allegations of injury were “sketchy and uncertain,” as the complaint did not “go beyond the

unexpanded statement that Pennsylvania was injured.” Id. at 671 n.14. Only at oral argument,

Pennsylvania offered that it may be injured by the general loss of tax revenue attributable to

inadequate payments from the relief program. Id. On this factual presentation, the D.C. Circuit

stated that Pennsylvania’s loss of tax revenues was just a “generalized grievance” and that the

general impairment of tax revenues should not ordinarily support a state’s standing. Id. at 672.

       Notably, in Wyoming v. Oklahoma, the Supreme Court described Kleppe as an instance of

a state complaining about agency action that “injured a State’s economy and thereby caused a

decline in general tax revenues.” 502 U.S. at 448. The Court specifically distinguished that

circumstance from losing an identifiable source of tax revenue. Id.

       The D.C. Circuit has relied on the portion of Kleppe that the Department cites only once,

ruling that Ecuadorian provinces did not have standing to sue a company that had sprayed

herbicides. Arias v. DynCorp, 752 F.3d 1011, 1015 (D.C. Cir. 2014). The provinces had claimed

that the herbicides caused a series of adverse consequences that cost the provinces tax revenue,

but documented that injury through only generalized deficits in their annual budgets. Id. So in

that case, the D.C. Circuit rejected standing based on a general claim of economic harm,

following the distinction drawn in Wyoming. Here, the States are not complaining of generalized

economic harm. Instead, the States have identified the loss of a specific source of tax revenue

from an identifiable category of people. For that reason, Kleppe is inapplicable.




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       Between the States’ loss of tuition revenue, federal revenue, and specific tax revenue that

the 2019 Rule causes, the States have standing.

       B. The 2019 Rule imposes greater oversight expenditures on the States

       The States have a second basis for standing. Federal enforcement of the Higher Education

Act’s gainful employment requirement weeds out ineffectual, as well as abusive, higher

education programs run by for-profit companies. Am. Compl. ¶¶ 73–79. But the 2019 Rule

eliminates this enforcement. Because the Department will not fulfill its own oversight

responsibilities, the States will shoulder greater oversight responsibility for higher education.

That increased burden comes at a cost to the States. Id. ¶¶ 140–152. Those costs give rise to

standing.

       For this injury, the record demonstrates that States are responsible for authorizing

institutions of higher education to operate within each State’s borders. Landis Decl. (Ex. 20)

¶¶ 9–11. Ostro Decl. (Ex. 21) ¶ 11; Rodríguez Decl. ¶ 7 (Ex. 22); Talbot Decl. (Ex. 23) ¶ 5. The

2019 Rule specifically identifies the States’ responsibility for evaluating programs as a reason

that, despite the 2019 Rule, program-level accountability measures will remain in place. 84 Fed.

Reg. at 31,403. But as a result of the 2019 Rule, there will be no federal mechanism to weed out

programs that fail to meet the Higher Education Act’s standards. Consequently, the States will

bear the burden and the cost for reviewing, evaluating, and authorizing more programs. Those

processes cost time and money. See Ostro Decl. ¶¶ 14–17, 21; Talbot Decl. ¶¶ 8–10, 17, 37.

These are expenses attributable to the 2019 Rule, and thus provide standing.

       Next, the States receive complaints about, and investigate, institutions of higher

education. Landis Decl. ¶¶ 12–13, 22; Ostro Decl. ¶¶ 22–24; Rodríguez Decl. ¶ 5, 8–14; Talbot

Decl. ¶¶ 19–21, 40 – 43. In fact, the 2019 Rule cited state-level enforcement efforts that will

occur after the 2019 Rule as reason to minimize the harm that the 2019 Rule will cause. 84 Fed.
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Reg. at 31,403. Educational programs operated by for-profit companies generate a

disproportionate number of the complaints that the States receive, and those programs are the

subject of many of the resulting investigations. Landis Decl. ¶¶ 15–16, 22; Ostro Decl. ¶¶ 25–27;

Rodríguez ¶ 15; Talbot Decl. ¶¶ 22–23, 46. These investigations are costly, and the States will

perform more of them because of the 2019 Rule. Landis Decl. ¶¶ 14, 17–18, 24–25; Ostro. Decl.

¶ 29; Rodríguez Decl. ¶ 17; Talbot Decl. ¶¶ 24–27, 41, 44. This, too, is a basis for standing.

       Although this Court previously held similar injuries were self-inflicted and thus incapable

of sustaining standing, this Court specifically observed that the States had not presented the

Court with “any federal law or regulation that requires the States to investigate or prosecute GE

Programs in the manner that the States describe.” Maryland, 2020 WL 4039315, at *14. Now,

however, the States do so.

       Under federal law, an institution of higher education must be authorized within a state to

provide postsecondary education. 20 U.S.C. § 1001(a)(2). Relatedly, a school may receive Title

IV aid only if it is “legally authorized to provide an educational program beyond secondary

education in the State in which the institution is physically located in accordance with § 600.9.”

34 C.F.R. § 600.4(a)(3); see also id. § 600.1 (establishing qualifications for aid under the Higher

Education Act). Schools are legally authorized to provide an educational program only if the

state in which the school is located has “a process to review and appropriately act on complaints

concerning the institution including enforcing applicable State laws.” Id. § 600.9(a)(1).

       The States have in place processes that satisfy these federal obligations. See, e.g.,

DeFilippo Decl. (Ex. 24) ¶ 7; Landis Decl. ¶¶ 12–13; Ostro Decl. ¶¶ 22–24; Talbot Decl. ¶¶ 19–

21; Rodríguez Decl. ¶¶ 12–14. Because the 2019 Rule frees substandard programs from federal

oversight, those programs will flourish, and the States’ processes will be burdened by more



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students filing complaints about ineffectual and abusive programs; the States will then spend

more time and money to “appropriately act” on those complaints. DeFilippo Decl. ¶¶ 8–9;

Landis Decl. ¶¶ 15–19, 22–25; Ostro Decl. ¶¶ 25–30; Talbot Decl. ¶¶ 22–27; Rodríguez Decl.

¶¶ 15–17.

       While the Department underscores that the States’ federal obligations come from a

“separate set of regulations,” Defs.’ Mem. at 20 (emphasis in original), the source of the States’

federal obligations is not relevant to standing. Compliance with these existing obligations will be

more costly because of the 2019 Rule. The Department also presses that this federal regulatory

obligation does not actually command States to exercise any enforcement authority. Defs.’ Mem.

at 20–21. But the States’ obligation is to “appropriately act on complaints.” 34 C.F.R

§ 600.9(a)(1) (emphasis added). In a separate recent rulemaking, the Department cited this exact

regulation as giving students important protections. 84 Fed. Reg. 58,834, 58,843 (Nov. 1, 2019).

And the Department’s last argument—that section 600.9 is only a condition for determining if a

school may receive Title IV aid, Defs.’ Mem. at 20—suggests that the States should be content if

no school within any State’s borders qualifies for Title IV aid. No state, however, can forgo a

process on which schools’ eligibility for Title IV aid depends. Last year, Title IV aid injected

$48 billion into the States collectively. See Location Report, supra note 1. Half of that aid went

to public institutions. See School Type Report, supra note 5. Plus, any state that opted against

adopting a required complaint process would be at a devastating disadvantage trying to attract or

keep any students in state, making it impossible to develop anything near the workforce or

economy necessary to sustain that State.

       Even without the federal obligation, the oversight expenses that will follow from the

2019 Rule supply standing. The increased expenses incurred here are like those that the D.C.



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Circuit considered in Air Alliance v. EPA. There, states sued the EPA after the EPA delayed the

effective date of a rule that, if it had gone into effect, would have revised safety standards at

facilities that use certain hazardous chemicals. Air Alliance, 906 F.3d at 1055–57. States spend

money when hazardous chemicals are released within their territory and so had an interest in the

safety rule. Id. at 1059. That proprietary interest established standing because “[m]onetary

expenditures to mitigate and recover from harms that could have been prevented absent the

Delay Rule are precisely the kind of ‘pocketbook’ injury that is incurred by the state itself.” Id. at

1059–60. The States had standing despite neither owning the facilities put in danger by the

EPA’s delay rule nor participating in any business regulated under the safety rule.

       Similarly, in New York v. Labor, another judge on this Court ruled that states could

challenge a regulation that relaxed standards for association health insurance plans because, as

the states alleged, the regulation “will cause a substantially increased regulatory burden on the

States as they substantially ramp up enforcement against a new type of plan[] or face a wave of

fraud and abuse . . . .” 363 F. Supp. 3d at 124. As here, the challenged regulation before the court

in New York v. Labor specifically anticipated that it would impose increased oversight demands

on the states. Id. Applying Air Alliance, the court held that “[t]he States’ direct regulatory costs

also support standing.” Id. at 126.

       As in Air Alliance and New York v. Labor, other courts have concluded that states have

standing when the byproduct of federal rulemaking is greater state expenditures. The Fifth

Circuit ruled that Texas had standing to contest the DAPA program because that program made

half a million people eligible for a Texas driver’s license and Texas spent at least $130 for each

license. Texas v. United States, 809 F.3d 134, 155 (5th Cir. 2015). Similarly, the First, Third, and

Ninth Circuits all ruled that states had standing to challenge rules that permit employers to



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remove contraceptive coverage from their employees’ insurance plans because the rules would

force more women to seek contraceptive care from state-funded programs. Massachusetts v.

Dep't of Health & Human Servs., 923 F.3d 209, 225–26 (1st Cir. 2019); Pennsylvania v.

President, 930 F.3d 543, 562–64 (3d Cir. 2019), rev’d on other grounds, Little Sisters v.

Pennsylvania, 140 S. Ct. 2367 (2020); California v. Azar, 911 F.3d 558, 572–74 (9th Cir. 2018).

       In Maryland, this Court disagreed with the reasoning of Texas and California, but there

are several reasons that conclusion should not be followed here.

       First, the Supreme Court’s recent decision in Little Sisters v. Pennsylvania affirms the

approach to standing taken in California. In Little Sisters, Pennsylvania had challenged the same

agency action at issue in California, and articulated an identical basis for state standing as in

California. Compare Pennsylvania v. President, 930 F.3d at 562–64 with California, 911 F.3d at

572–74. At oral argument, Justice Thomas questioned Pennsylvania’s standing. See Transcript of

Oral Argument at 31–32, 55–58, Little Sisters v. Pennsylvania, 140 S. Ct. 2367 (2020) (Nos. 19-

431 & 19-454).6 Still, the Court resolved the case on its merits. See generally Little Sisters v.

Pennsylvania, 140 S. Ct. 2367 (2020). If Pennsylvania did not have standing, the Court would

have had no choice but to rule on that jurisdictional basis. See, e.g., Plains Commerce Bank v.

Long Family Land & Cattle Co., 554 U.S. 316, 324 (2008) (“[W]e bear an independent

obligation to assure ourselves that jurisdiction is proper before proceeding to the merits.”).

       Second, this Court’s earlier opinion identified Pennsylvania v. New Jersey, 426 U.S. 660

(1976), as the Supreme Court’s most relevant precedent. In that case, Pennsylvania sued New

Jersey over a New Jersey tax on nonresident income. Pennsylvania asserted standing because it

gave its own residents a tax credit for taxes paid to other states. Id. at 663. That credit meant


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           https://www.supremecourt.gov/oral_arguments/argument_transcripts/2019/19-431_d1o2.pdf.

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Pennsylvania lost out when other states, such as New Jersey, taxed nonresidents’ income. But

because Pennsylvania’s injuries came only from its own choice to attach relevance to New

Jersey’s laws, New Jersey was not the cause of Pennsylvania’s injuries. Id. at 665.

       Relevant here, the Supreme Court did not follow Pennsylvania v. New Jersey in a

seemingly similar case. In Wyoming v. Oklahoma, the Supreme Court ruled that Wyoming had

standing to sue Oklahoma about an Oklahoma tax that favored Oklahoma-mined coal, and which

cost Wyoming tax revenue. Wyoming, 502 U.S. at 447–48. Notably, Wyoming was injured

despite not having any law that ascribed import to Oklahoma’s coal tax.

       This case resembles Wyoming v. Oklahoma, and not Pennsylvania v. New Jersey, because

the States’ increased oversight costs are not the result of having incorporated the laws of another

sovereign into their own laws. See California, 911 F.3d at 574 (drawing this distinction). This

Court previously distinguished Wyoming v. Oklahoma because, unlike here, Oklahoma’s law

“specifically targeted” Wyoming. Maryland. 2020 WL 4039315, at *17. Yet a defendant’s intent

is not part of analyzing standing. Rather, injuries need only be fairly traceable to the defendant’s

act. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013). As in Wyoming v. Oklahoma, the

injuries here are fairly traceable to Department’s act rather than an act of the States.

       Third, the case for standing is even more compelling here than in either Texas or

California because the States’ injuries are experienced performing oversight of higher education.

For oversight of higher education, the States are in a partnership with the federal government and

private accreditors. See U.S. Senate, Health, Education, Labor and Pensions Committee, For

Profit Higher Education: The Failure to Safeguard the Federal Investment and Ensure Student

Success at 18 (July 30, 2012). The 2019 Rule itself recognizes this triad’s shared responsibilities.

84 Fed. Reg. at 31,403 (referencing the oversight responsibilities shared by the “regulatory



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triad”). The States’ injuries, then, are not volitional, but instead the product of a fixed feature of

how the oversight of higher education operates. And the 2019 Rule leaves a void that makes it

more expensive for the States to fulfill their own responsibilities.

         Finally, the Department maintains that the States had oversight expenses before the 2014

Rule, and that the States cannot be injured by the 2019 Rule because the States never fully

realized the 2014 Rule’s benefits. Defs.’ Mem. at 21 (citing Maryland, 2020 WL 4039315, at

*15). Air Alliance, however, provides a conclusive answer to each assertion. States had standing

there based on expenses from delaying the safety rule even though, separate from the safety rule

and its delay, the states had already been spending money to respond to chemical releases. Air

Alliance, 906 F.3d at 1059. Plus, the underlying safety rule had never gone into effect. Id. at

1056–57. Still, the States had standing. That the States here have oversight expenses independent

of the 2019 Rule “is not a basis to deny [the States] standing” when the allegation is that the

2019 Rule will increase those expenses. New York v. Scalia, 464 F. Supp. 3d at 544.7

         Relatedly, the Department tries to avoid standing by setting the wrong baseline for

evaluating the States’ injuries. While the Department presents the States’ injuries as reflecting

merely a desire for the federal government to intervene against unscrupulous for-profit programs,

Defs.’ Mem. at 21 (citing Maryland, 2020 WL 4039315, at *15), this suit challenges the 2019

Rule—it is not, unlike Maryland, a suit to compel government action. And the “baseline for

measuring the impact of a change or rescission of a final rule is the requirements of the rule

itself, not the world as it would have been had the rule never been promulgated.” Council of

Parent Attorneys & Advocates, Inc. v. DeVos, 365 F. Supp. 3d 28, 44 (D.D.C. 2019) (quoting Air

Alliance, 906 F.3d at 1068).

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         The Department advances a similarly flawed argument with respect to the States’ first injury. See Defs.’
Mem. at 18 (arguing that the States do not have standing because public institutions existed before the 2014 Rule).

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       Independently, then, the increased oversight expenses caused by the 2019 Rule furnish

standing.

       C. The 2019 Rule interferes with the States’ support of higher education

       Interfering with the States’ support for higher education, as the 2019 Rule does, is a third

injury that confers standing. Am. Compl. ¶¶ 125–139.

       As the Supreme Court has said, “education is perhaps the most important function of

state and local governments.” Plyler v. Doe, 457 U.S. 202, 222 (1982) (internal citations

omitted). That is so because education is “required in the performance of our most basic public

responsibilities,” “is the very foundation of good citizenship,” and “is a principal instrument in

awakening the child to cultural values, [and] in preparing him for later professional training.” Id.

at 222–23. Plyler pertained to primary and secondary education, but the Court has since

explained that the reasons providing primary and secondary education is a critical function of

state government also apply to higher education. Grutter v. Bollinger, 539 U.S. 306, 331 (2003);

see also Selective Serv. Sys. v. Minnesota Pub. Interest Research Grp., 468 U.S. 841, 878–79 &

n.22 (1984) (Marshall, J., dissenting) (stressing that access to higher education is no less

important than access to primary and secondary education for providing tools of economically

productive life).

       The States, too, identify supporting access to higher education as an indispensable

function. Doing so not only advances democratic values but also develops workforces needed to

sustain the States’ modern economies. See, e.g., R.I. Const. art. XII, sec. 1 (making a

constitutional commitment to “adopt all means” needed to secure the advantages of education);

C.R.S. § 23-3-102 (noting the importance of higher education to the welfare of Colorado); 110

ILCS 979/5 (describing higher education as “an essential function of State government”); Minn.

Stat. §§ 135A.011, 136A.61 (stating that investing in higher education promotes “democratic
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values,” elevates the State’s stature “in the world market,” and prepares a workforce to meet

Minnesota’s needs); N.J. Stat. Ann. § 18A:71B-82 (establishing financial assistance for

postsecondary education because it is “vital to New Jersey’s efforts to attract and retain highly

skilled businesses, and to ensure the State’s continued economic well-being”); ORS 350.001

(funding higher education for the State’s “survival and economic well-being”).

       To achieve these objectives, the States support public institutions of higher education,

and many of the States offer financial aid for students to enroll in postsecondary schools. Crane

Decl ¶ 8; Cruz Decl. ¶ 6; Dulude Decl. ¶¶ 8–10; Durham Decl. ¶¶ 6, 8; Talbot Decl. ¶¶ 7–9;

Oyadomari-Chun Decl. ¶¶ 7, 10; Rose Decl. ¶ 8; Saavedra Decl. ¶ 10; Sannicandro Decl. ¶¶ 4–6;

Socolow Decl. (Ex. 25) ¶ 11; Zarnikow Decl. (Ex. 26) ¶¶ 13, 18. State money, when supporting

students enrolling in worthwhile postsecondary schools, makes the benefits of higher education

available to a broader swath of the States’ citizens. Crane Decl. ¶ 12; Cruz Decl. ¶ 6; Dulude

Decl.¶¶ 7–11; Malatras Decl. ¶ 5; Ostro Decl. ¶ 20; Rose Decl. ¶ 12; Sannicandro Decl. ¶ 7;

Socolow Decl. ¶ 6; Zarnikow Decl. ¶¶ 11–14, 21. And when that happens, States are better able

to meet their needs for an informed and skilled workforce. Dulude Decl. ¶¶ 13, 16, 19; Socolow

Decl. ¶ 6; Zarnikow ¶¶ 20–22.

       In light of the 2019 Rule, however, a greater number of students will enroll in “sub-

optimal programs” that “have demonstrated a lower return on the student’s investment, either

through higher upfront costs, reduced earnings, or both.” 84 Fed. Reg. at 31,445. The federal

government estimates that it will lose $6.2 billion over the next decade as students use federal

financial aid to enroll in programs that will not prepare them for gainful employment. Similarly,

state money will be squandered when students enroll in programs that provide little of the value

for which the aid is designed. Zarnikow Decl. ¶¶ 20, 27. The purpose of the States’ public



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institutions—to make quality higher education broadly available—also is impaired. Durham

Decl. ¶ 17; Dulude Decl. ¶¶ 19–21, 27, 32; Malatras Decl. ¶ 21; Rose Decl. ¶ 18; Sannicandro

Decl. ¶¶ 4–6, 15. By wasting money spent to accomplish one of state government’s vital

missions, the 2019 Rule causes a third injury sufficient for standing.

       Here, too, the Department views the injury as self-inflicted. Defs.’ Mem. at 19. But as

with oversight of higher education, the States must support higher education because doing so is

a vital function of state government. For that reason, the States’ injuries here are no less

avoidable than those in Air Alliance, New York v. Labor, Texas, or the collection of cases about

access to contraceptive care. See supra, Section I.B.

       In the 2019 Rule, the Department intimates that, although it will no longer enforce any

program-level accountability measures, the States can fill the gap. 84 Fed. Reg. at 31,403. While

that might suggest the States can avoid state money being wasted by performing increased

oversight of higher education programs, that suggestion only further reveals that the 2019 Rule

harms the States. Even assuming the States have the tools to perform a program-level review

comparable to that which the Department will now forgo, that review would be costly and detract

from other priorities. Socolow ¶ 13; Ostro Decl. ¶¶ 11, 21. And those are expenses the States

would not incur but for the 2019 Rule.

       This class of injury—caused by the 2019 Rule—is a third independent basis for standing.

 II.   The States’ injuries provide standing for the procedural claim

       As with substantive claims under the Administrative Procedure Act, a plaintiff has

standing to bring a procedural claim under the Administrative Procedure Act if “the agency

action threatens [the plaintiff’s] concrete interest.” Mendoza v. Perez, 754 F.3d 1002, 1010 (D.C.

Cir. 2014); see also Am. Inst. of Certified Pub. Accts. v. IRS, 804 F.3d 1193, 1196 (D.C. Cir.

2015) (“[T]o demonstrate Article III standing to maintain its procedural challenge . . . the
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Institute need show only that the Program itself, rather than the procedures used to adopt it,

causes a redressable harm.”). In other words, the plaintiff must be injured by the content of the

agency action, just as with a substantive claim. Procedural claims are unlike substantive claims,

however, because “the normal standards for immediacy and redressability are relaxed.”

Mendoza, 754 F.3d at 1010. A plaintiff need not “establish that correcting the procedural

violation would necessarily alter the final effect of the agency’s action on the plaintiffs’ interest.”

Id. If the agency’s action has injured the plaintiff, then the court “will assume[] the causal

relationship between the procedural defect and the final agency action.” Id. (internal citations

omitted).

       In Mendoza v. Perez, for example, domestic herders sued the Department of Labor for

changing policies governing certain work visas without going through notice-and-comment

rulemaking procedures. Id. at 1009. To assess standing for this procedural claim, the D.C. Circuit

examined whether the substance of the new policies harmed the domestic herders. Id. at 1010.

And the substance did because the policies put domestic herders at a competitive disadvantage

with the herders working on a visa. Id. at 1011–12. Likewise, in American Institute, an

association of accountants had standing to challenge on procedural grounds an IRS policy that

was completed without notice-and-comment rulemaking because the policy would put the

association’s members at a competitive professional disadvantage. 804 F.3d at 1197.

       Therefore, the injuries described in the preceding three sections, supra Sections I.A–I.C,

also establish the States’ standing to challenge the Department’s violation of the Administrative

Procedure Act’s procedural provisions. The 2019 Rule harms the States and was a product of a

rulemaking process that the States have alleged was defective because the Department relied on




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analyses that it did not disclose. Am. Compl. ¶¶ 176–179. The relationship between the defect

and the rule can be assumed.

        The Department’s first argument about its procedural violations does not address the

States’ standing. Instead, the Department argues that the States’ procedural claim will fail on the

merits because the Department did not violate the rulemaking requirements that have been

described in Banner Health v. Price, 867 F.3d 1323 (D.C. Cir. 2017), and elsewhere. Defs.’

Mem. at 31–32. That is neither an argument about standing nor one that can be considered for

purposes of a motion under Rule 12(b)(1). See Comm. on Judiciary of U.S. House of

Representatives v. McGahn, 968 F.3d 755, 762 (D.C. Cir. 2020) (en banc) (“When determining

whether a plaintiff has Article III standing, the court must assume that the [plaintiff] will prevail

on the merits.”). The rest of the Department’s argument, Defs.’ Mem. at 33–35, repeats the same

points the Department makes elsewhere. And for the reasons discussed in the preceding and

following sections, those arguments are unsound.

III.    The States’ injuries are redressable

        Finally, neither of the Department’s last two arguments—that the Social Security

Administration data used in the 2014 Rule’s accountability framework is unavailable, Defs.’

Mem. at 24–26, and that the Secretary had discretion over what disclosures any program must

make under the 2014 Rule’s transparency framework, id. at 27–29—defeats the States’ standing.

        First, those arguments gloss over that this case is not one to enforce the 2014 Rule but

instead to vacate the 2019 Rule. Together, the Department’s arguments minimize what the 2019

Rule accomplishes and ignore many of the bases on which the rule is being contested.8 One



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          The recent decision from the Northern District of California that the Department cites, see generally Am.
Fed'n of Teachers v. DeVos, No. 20-455, 2020 WL 5257561 (N.D. Cal. Sept. 3, 2020), made the same error.


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consequence of the 2019 Rule is eliminating the 2014 Rule, supposedly because of the

Department’s concerns with enforcing that rule. 84 Fed. Reg. at 31,396–401. Indeed, the States

have challenged the 2019 Rule because the purported concerns that precipitated that decision

were arbitrary. Am. Compl. ¶¶ 169–171, 175. Vacating the 2019 Rule, then, would make the

2014 Rule the Department’s operative regulations once again, at least temporarily.

       But the 2019 Rule achieved more than just repealing the 2014 Rule. The rule also

finalized the Department’s position that it need not further define the Higher Education Act’s

gainful employment requirement to enforce that provision, and thus will not promulgate an

alternative to the 2014 Rule. 84 Fed. Reg. at 31,401–404. The States have alleged the 2019 Rule

is unlawful because that conclusion is inadequately justified, and, in any event, wrong as a matter

of law. Am. Compl. ¶¶ 163–166. Relatedly, the States have alleged that, even if the Department

had legitimate concerns about the 2014 Rule, the Department failed to consider alternative ways

to satisfy its obligations under the Higher Education Act. Id. ¶¶ 167–168, 175. If the 2019 Rule is

set aside, the Department must initiate a new rulemaking that proceeds under a correct

understanding of the Higher Education Act. And the Department would have to consider anew

whether it had legitimate concerns about enforcing the 2014 Rule and, if it did, which

alternatives to the 2014 Rule would meet the Department’s statutory obligations. That relief

would address the States’ injuries irrespective of the unavailability of data from the Social

Security Administration and independent of the Secretary’s discretion under the 2014 Rule.

       On this point, the Department argues that it has no obligation to establish a regulatory

process for enforcing the Higher Education Act’s gainful employment requirement and so it is

speculative to assume that the Department will initiate a new rulemaking process even if the

2019 Rule is vacated. Defs.’ Mem. at 26. But the States have alleged otherwise, Am. Compl.



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¶¶ 165–167, so the Department’s argument presumes it will prevail on the merits. That

presumption cannot be entertained while analyzing standing. McGahn, 968 F.3d at 762.

        What is more, the States need not establish for standing that the result of vacating the

2019 Rule would be a new rulemaking process that would certainly redress the injuries caused

by the 2019 Rule. As the Supreme Court has explained, when the consequence of a judicial

ruling is “a significant increase in the likelihood that the plaintiff would obtain relief that directly

redresses the injury suffered,” a plaintiff has standing. Utah v. Evans, 536 U.S. 452, 464 (2002);

see also Teton Historic Aviation Found. v. U.S. Dep't of Def., 785 F.3d 719, 724 (D.C. Cir. 2015)

(“[A] plaintiff suffers a constitutionally cognizable injury by the loss of an opportunity to pursue

a benefit . . . even though the plaintiff may not be able to show that it was certain to receive that

benefit had it been accorded the lost opportunity.”). Consistent with that principle, the Supreme

Court has ruled, for example, that bankruptcy creditors had standing to contest a structured

dismissal because the dismissal alone cost creditors “a chance to obtain a settlement that

respected their priority.” Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973, 983 (2017). And the

Supreme Court also has ruled that a contractor had standing to challenge a city ordinance that

made it “more difficult” for any bid from that contractor to be selected, even without the

contractor alleging its bid would have been chosen without the ordinance. Ne. Fla. Chapter of

Associated Gen. Contractors of Am. v. City of Jacksonville, 508 U.S. 656, 666 (1993).

        These decisions teach that vacating the 2019 Rule provides the States’ meaningful

redress. At a minimum, doing so would improve the likelihood of the Department enforcing the

Higher Education Act’s gainful employment provision. For standing, increasing the likelihood of

that outcome is sufficient.




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       Second, even if the only consequence of setting aside the 2019 Rule is a return to the

2014 Rule, the current relationship between the Department and the Social Security

Administration does not frustrate the States’ standing.

       As a legal matter, a plaintiff does not lose standing to challenge an injurious action just

because there may be other sources of overlapping injury. In Mendoza v. Perez, domestic

herders’ standing to challenge certain agency guidance was disputed on the basis that the injuries

actually were caused by older policies. 754 F.3d at 1015. But as the D.C. Circuit explained, “the

fact that previous rules may also have caused the plaintiffs injury does not break the causal link

between the rules they now challenge and the asserted injury. The only relevant inquiry is

whether the [challenged policies] cause injury.” Id. Similarly, another judge on this Court has

ruled that a plaintiff had standing to challenge the FDA’s grant of market exclusivity to a

competitor even though there may have been an independent reason that the plaintiff could not

market its product, deciding that a favorable ruling would “clear at least one of two independent

reasons” the plaintiff was injured. Braeburn Inc. v. FDA, 389 F. Supp. 3d 1, 19 (D.D.C. 2019).

Here, nothing about the availability of data from the Social Security Administration breaks the

causal relationship between the 2019 Rule and the harm that the States suffer. Nor does the

possible unavailability of that data mean this Court cannot redress the injuries specific to the

2019 Rule.

       And as a factual matter, the Department’s contention that it has “no reason to expect that

[the Social Security Administration] will agree to renew its MOU in the future,” Defs.’ Mem. at

25 (quoting Jones Decl. ¶ 7), must be treated with skepticism. The record shows that the

Department has been cagey at best about its dealings with the Social Security Administration. In

the 2019 Rule, the Department claimed that it did not propose or seek comment on an alternative



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to the 2014 Rule that would not rely on data from the Social Security Administration because the

Department was unaware at the time of its proposed rule that the Social Security Administration

would not renew the agencies’ agreement. 84 Fed. Reg. at 31,392–393. Yet the agencies’

agreement expired several months before the Department’s notice of proposed rulemaking. Am.

Compl. ¶ 105. At a minimum, then, the Department knew at the time of its proposed rulemaking

that it did not have any agreement with the Social Security Administration. But worse than that,

even before the agreement expired, the Social Security Administration rebuffed the Department’s

request to renew the data-sharing agreement and communicated that it was disinclined to do so.

Jones Decl. ¶ 6. And as even the Department’s own declarant acknowledges, the Social Security

Administration’s unwillingness to execute a new agreement was spurred by the current

administration’s questionable use of data received from the Social Security Administration. Id.

¶¶ 5–6. Vacating the 2019 Rule would, at least, give a future administration with different

priorities and practices the option of starting over with the Social Security Administration. That

would increase the likelihood of relief for the States.

         Third, the Secretary’s discretion under the 2014 Rule for the content of disclosures does

not thwart the States’ standing.9 The D.C. Circuit addressed an analogous circumstance in Teton

Historic Aviation Foundation v. United States Department of Defense, 785 F.3d 719 (D.C. Cir.

2015). There, an aviation foundation sued the Department of Defense over a classification of

surplus airline parts that limited the number of parts available for sale. Id. at 725. The court

recognized that the Department of Defense “might do almost anything with its own property

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          The Department also says that curtailing disclosures does not injure the States because whatever
information the Secretary may require be disclosed to enforce the Higher Education Act’s gainful employment
requirement already is accessible through the Department’s College Scorecard. Defs.’ Mem. at 28 & n.10. The
College Scorecard, however, is not an adequate substitute. See Am. Compl. ¶ 101. The College Scorecard
notwithstanding, the effect of the 2019 Rule is that institutions no longer have to “engage in the direct distribution of
disclosures or maintain records to prove that students receive those disclosures,” 84 Fed. Reg. at 31,418, nor must
they “post disclosures of program outcomes on their websites,” id. at 31,419.

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whether Teton wins or loses” because, as the Department of Defense claimed, it had “complete

discretion” over the sale of surplus parts. Id. at 726–27. Additionally, no “rule or law would

force the Department to do anything at all” if the plaintiff prevails. Id. at 727. Still, the plaintiffs

had standing because, based on the Department of Defense’s past practices and financial

incentives, there was more than a remote possibility that the desired parts would be available for

sale if the court vacated the classification and “Article III does not demand a demonstration that

victory in court will without doubt cure the identified injury.” Id.

        Here, the Department’s invocation of discretion is even less compelling than in Teton.

Unlike the “complete discretion” claimed by the Department of Defense, the 2014 Rule directs

the exercise of the Secretary’s discretion over the sort of information institutions must disclose.

Under the 2014 Rule, the Secretary “will conduct consumer testing to determine how to make the

disclosure template as meaningful as possible.” 79 Fed. Reg. at 65,013.

        Past practices also signal that, when 2014 Rule has been in effect, the Department has not

ignored this particular requirement. Under the current administration, the last disclosure template

required institutions to disclose the expected length of a program, the program’s costs if

completed within that time, the average debt load for students who complete the program in the

intended amount of time, and whether the program meets any licensure requirements. See U.S.

Dep’t of Educ., Gainful Employment Disclosure Template (last visited Dec. 14, 2020).10 Under

the prior administration, the disclosure template included information about a program’s on-time

graduation rates, costs, typical debt, and average earnings, for example. See Disclosure

Template, supra note 2. That is the exact sort of information that influences student decision

making. Alexander Decl. ¶¶ 6, 9; Bailey ¶¶ 4, 6–7; Green Decl. ¶¶ 5-9; Ford Decl. ¶ 6 ; Miller


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             https://www2.ed.gov/policy/highered/reg/hearulemaking/2009/negreg-summerfall.html.

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Decl. ¶¶ 7, 12–15; Romero Decl. ¶¶ 6, 11, 13, 19; Rosenwald Decl. ¶¶ 4, 9; Schwarm Decl. ¶¶ 7–

8; Tibbits Decl. ¶¶ 2, 4–5, 8. Of course, given the upcoming change in administrations, it is

hardly speculative to expect that, if the 2014 Rule becomes the Department’s operative

regulation once again, the Secretary will require robust disclosures.

       For each of these reasons, redress for the States’ injuries is made more likely by vacating

the 2019 Rule. Neither of the Department’s arguments suggests otherwise.

                                         CONCLUSION

       For all the reasons set forth above, Defendants’ Motion to Dismiss should be denied.



December 14, 2020                                Respectfully submitted,

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